                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                     )      COLLIER/CARTER
                                              )
        v.                                    )      CASE NO. 1:09-CR-181
                                              )
 AARON SULLIVAN                                       )


                                            ORDER

        On August 26, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Superseding Indictment, conspiracy to distribute and

 manufacture 5 grams or more of methamphetamine (actual) and 50 grams or more of a mixture

 and substance containing methamphetamine in violation of 21 USC §§ 846 and 841(a)(1) and

 841(b)(1)(B), in exchange for the undertakings made by the government in the written plea

 agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the lesser

 included offense in Count One of the Superseding Indictment; (c) that a decision on whether to

 accept the plea agreement be deferred until sentencing; and (d) Defendant shall remain in

 custody pending sentencing in this matter (Court File No. 742). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS

 as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Superseding Indictment, in exchange for the undertakings made by the government in the written

 plea agreement, is ACCEPTED;



Case 1:09-cr-00181-TRM-CHS           Document 771         Filed 09/14/10     Page 1 of 2       PageID
                                           #: 1723
        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser

 included offense in Count One of the Superseding Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Thursday,

 January 6, 2011, at 9:00 a.m.

        SO ORDERED.

        ENTER:


                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               2


Case 1:09-cr-00181-TRM-CHS         Document 771       Filed 09/14/10     Page 2 of 2     PageID
                                         #: 1724
